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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


                                       No. 1:19-cv-06396-JPO

In Re: CANNTRUST HOLDINGS INC.         Judge J. Paul Oetken
SECURITIES LITIGATION




         DECLARATION OF JAMES W. JOHNSON IN SUPPORT OF
   LEAD PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION
     SETTLEMENTS AND ALLOCATION AND DISTRIBUTION SCHEME
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        I, JAMES W. JOHNSON, declare as follows, pursuant to 28 U.S.C. §1746:

        1.     I am a member of the law firm of Labaton Sucharow LLP and am admitted to

practice before this Court. Labaton Sucharow serves as Court-appointed Lead Counsel for Lead

Plaintiffs Granite Point Master Fund, LP and Granite Point Capital Scorpion Focused Ideas Fund

(collectively, “Lead Plaintiffs,” “U.S. Class Action Lead Plaintiffs,” or “Granite Point”) and the

proposed class in the above-captioned class action (the “U.S. Class Action” or “Action”). I have

been actively involved in prosecuting and resolving the Action, am familiar with its proceedings,

and have personal knowledge of the matters set forth herein based upon my supervision and

participation in all material aspects of the Action.

        2.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, I submit this

declaration in support of Lead Plaintiffs’ Motion for Final Approval of Class Action Settlements

and Allocation and Distribution Scheme. The motion has the full support of Lead Plaintiffs. See

Declaration of C. David Bushley on behalf of Granite Point, dated October 20, 2021, attached

hereto as Exhibit 1.1

        3.     After extensive negotiations over the course of many months and under the

auspices of a mediator appointed by the Ontario Superior Court of Justice (Commercial List) (the

“Canadian Court”), defendant CannTrust Holdings Inc. (“CannTrust”) and the majority of the

defendants in this Action have reached a global resolution of the claims asserted against them in

this case, as well as actions pending in Canada and California (the “Actions”).2 The proposed


    1
        Citations to “Exhibit” or “Ex.___” herein refer to exhibits to this Declaration. For clarity,
citations to exhibits that have attached exhibits will be referenced as “Ex. __-__.” The first
numerical reference is to the designation of the entire exhibit attached hereto and the second
alphabetical reference is to the exhibit designation within the exhibit itself.
     2
       The Settlements involve all defendants in this U.S. Class Action, except for KPMG LLP.
Defendants CannTrust; Cannamed Financial Corp.; Cajun Capital Corporation; Mark Dawber;
Greg Guyatt; John Kaden; Robert Marcovitch; Shawna Page; Mitchell Sanders; Eric Paul; Mark

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Settlements, see §IV below, will be implemented pursuant to CannTrust’s Fourth Amended &

Restated Plan of Compromise, Arrangement and Reorganization, as amended and restated from

time to time (the “CCAA Plan”), under Canada’s Companies’ Creditors Arrangement Act,

R.S.C. 1985, c. C-36, as amended, which was approved by the Canadian Court by a “sanction

order” entered on July 16, 2021 (the “CCAA Sanction Order”).

       4.      The primary terms of the Settlements are set forth in the CCAA Plan, the

Restructuring Support Agreement, effective as of January 19, 2021 (as amended from time to

time, the “RSA”),3 and the minutes of settlement with the other settling parties, previously filed

with the Court. See ECF Nos. 150-3 to 150-12; see also Exhibit 2, attached hereto, for a list of

the agreements.

I.     PRELIMINARY STATEMENT

       5.      The CCAA Plan, and the proposed Settlements reached to date to be implemented

through the CCAA Plan, will create, among other things, a Class Compensation Fund for eligible

investors in the amount of approximately C$83,000,000, before the deduction of approved fees,

expenses, taxes, and set-offs required by the Settlements.4 The Class Compensation Fund will be

administered by a Securities Claimant Trust for the benefit of Securities Claimants both within



Ian Litwin; Ian Abramowitz; Peter Aceto; Canaccord Genuity LLC; Citigroup Global Markets
Inc.; Credit Suisse Securities (USA) LLC; Jefferies LLC; Merrill Lynch, Pierce, Fenner & Smith
Incorporated; and RBC Dominion Securities Inc. are collectively the “Settling Defendants,” for
purposes of this motion. U.S. Class Action Lead Plaintiffs and the Settling Defendants are
collectively referred to as the “Settling Parties.”
     3
        All capitalized terms not defined herein have the same meanings as defined in the CCAA
Plan (ECF No. 150-3), the RSA (ECF No. 150-4), the Order preliminarily approving the
Settlements (the “Preliminary Approval Order”) (ECF No. 153), or the proposed Allocation and
Distribution Scheme governing the calculation of investors’ claims (“A&DS”) (ECF No. 150-5).
     4
       For informational purposes, at the time the Settlements were reached (January 19, 2021 to
May 24, 2021), the C$/US$ exchange rate ranged from C$1.20 to C$1.28 per US$1.00 with an
average of C$1.25 per US$1.00. Accordingly, at the time of the Settlements, C$83,000,000 was
equivalent to approximately US$66,400,000.

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and outside the United States. Any additional settlements and recoveries obtained through

ongoing claims against non-Settlement Parties will also be administered by the Securities

Claimant Trust.

       6.      As detailed herein, Lead Plaintiffs and Lead Counsel respectfully submit that the

Settlement represents a very favorable result in light of the significant risks of continuing to

litigate the Action. Lead Plaintiffs and Lead Counsel are well-informed of the strengths and

weaknesses of the claims being settled. In agreeing to settle, Lead Plaintiffs and Lead Counsel

took into consideration, principally, CannTrust’s ability to satisfy a judgment, other defendants’

abilities to pay, as well as the duration and complexity of the legal proceedings that remained

ahead. As discussed below, had the Settlements not been reached, there were considerable

barriers to a greater recovery, or any recovery at all.

       7.      In contrast with the above challenges, the Settlements, in the aggregate, are well

above industry trends. The C$83,000,000 recovery, equivalent to approximately US$66,400,000,

is significantly above the median settlement amount of $9 million for securities class actions

between 1996 and 2019, is higher than the median recovery in 2020 of $10.1 million, and is

well-above the $9.4 million median recovery within the 2nd Circuit from 2011-2020. See, Laarni

T. Bulan and Laura E. Simmons, Securities Class Action Settlements – 2020 Review and

Analysis, at 1 and 20 (Cornerstone Research 2021), Ex. 3. Thus, compared to other similarly

situated cases in 2020, and during the span of the PSLRA, the Settlements are a very favorable

outcome for the U.S. Settlement Class.

       8.      Moreover, based on the allegations in this case, Lead Plaintiffs’ consulting

damages expert, Dr. Surana, has estimated maximum aggregate damages to Securities Claimants

of approximately C$510 million. Of those damages, approximately C$48 million are attributable




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to the Offering claims, and C$461.5 million are attributable to secondary market claims. Using

these estimates, the Settlements represent approximately 16% of maximum damages, an amount

that compares very favorably to recoveries in other securities class actions.

       9.      In addition to seeking approval of the Settlements, in relation to the U.S. Class

Action, and certification of the U.S. Settlement Class for purposes of the Settlements, Lead

Plaintiffs seek approval of the proposed allocation plan governing the calculation of claims and

the distribution of the settlement proceeds. As discussed below, the proposed Allocation and

Distribution Scheme (“A&DS”) was developed with the assistance of Lead Plaintiffs’ damages

expert, and provides for the distribution of the Class Compensation Fund to claimants who

submit Claim Forms that are approved for payment on a pro rata basis based on their losses

attributable to the alleged wrongdoing.

       10.     It is respectfully submitted that the proposed Settlements, and the allocation plan,

as they relate to this U.S. Class Action, are eminently fair, reasonable, and adequate and should

be preliminarily approved by the Court.

II.    HISTORY OF THE U.S. CLASS ACTION

       A.      Appointment of Lead Plaintiffs and Lead Counsel and the Complaint

       11.     During the Class Period, CannTrust was a publicly traded company and its shares

primarily traded on the Toronto Stock Exchange (“TSX”) and on the New York Stock Exchange

(“NYSE”). (Its shares currently trade on the OTC Market.) Its share price declined following

the announcement by CannTrust on July 8, 2019 that it had received a compliance report from

Health Canada notifying it that its greenhouse facility in Pelham, Ontario was non-compliant

with certain regulations as a result of observations by the regulator regarding the growing of

cannabis in five unlicensed rooms and inaccurate information provided to the regulator by

CannTrust employees. Class actions in Canada and the United States were commenced against,


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among others, CannTrust, certain of its directors and officers, the underwriters of its May 2019

secondary share offering (“Offering Shares”), and its auditors, KPMG LLP.

       12.     Following CannTrust’s disclosures on July 8, 2019, several class actions were

commenced in Ontario making substantially similar allegations on behalf of CannTrust

shareholders. By Order dated January 28, 2020, carriage of the CannTrust securities class actions

was granted to Ontario Class Action Counsel and all other proposed class actions in Ontario

relating to the same subject matter were stayed. Proposed class actions were also commenced in

British Columbia, Alberta and Québec. Several individual actions were also filed in Canada.

       13.     On July 10, 2019, a class action complaint was filed in this Court under the

caption Huang v. CannTrust Holdings Inc., et al., No. 19-cv-06396-JPO. ECF No. 1. Three

other class action complaints were subsequently filed setting forth substantially the same

allegations against CannTrust and its officers and directors: Alvarado v. CannTrust Holdings,

Inc., et al., No. 19-cv-6438; Jones v. CannTrust Holdings, Inc., et al., No. 19-cv-6883; and

Justiss v. CannTrust Holdings, Inc., et al., No. 19-cv-7164 (JPO).

       14.     By Order dated April 16, 2020, this Court ordered that the cases be consolidated

and recaptioned as In re CannTrust Holdings Inc. Securities Litigation, Civil Action No. 1:19-

cv-06396-JPO; appointed Granite Point Master Fund, LP and Granite Point Capital Scorpion

Focused Ideas Fund as lead plaintiffs; and appointed Labaton Sucharow LLP as lead counsel for

a proposed U.S. class. ECF No. 80.

       15.     On June 26, 2020, Lead Plaintiffs filed and served their Consolidated Class

Action Complaint (the “Complaint”). ECF No. 89. The Complaint asserts claims under Section

10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act allegations”) against

CannTrust; CannTrust’s auditor, KPMG LLP; and several of CannTrust’s senior executives and




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directors: former Chief Executive Officer Peter Aceto, former Chief Financial Officer and

current CEO Greg Guyatt, former CFO Ian Abramowitz, former President and Chief Operating

Officer Brad Rogers, former Chairman of the Board and CEO Eric Paul, and members of

CannTrust’s Board of Directors: Mark E. Dawber, Mitchell J. Sanders, John T. Kaden, Mark I.

Litwin, Shawna Page, and Robert F. Marcovitch. The Complaint separately asserts claims under

Sections 11, 12(a)(2) and 15 of the Securities Act of 1933 (the “Securities Act allegations”)

against Defendants: CannTrust, KPMG, Paul, Aceto, Guyatt, Litwin, Sanders, Marcovitch,

Dawber, Page, Kaden, as well as against Merrill Lynch, Pierce, Fenner & Smith Inc., Citigroup

Global Markets Inc., Credit Suisse Securities (USA) LLC, Jefferies LLC, RBC Dominion

Securities Inc., Canaccord Genuity LLC, Cannamed Financial Corp., and Cajun Capital

Corporation.

       16.     Among other things, the Complaint alleges that Defendants made materially false

and misleading statements and omissions concerning CannTrust’s compliance with relevant

cannabis regulations and an alleged scheme to increase the Company’s cannabis production. The

Complaint’s Exchange Act allegations allege that the price of CannTrust publicly traded

common stock was artificially inflated as a result of Defendants’ allegedly false and misleading

statements, and declined when the truth was allegedly revealed from July 8, 2019 through

September 17, 2019. The Complaint’s Securities Act allegations allege that the Company’s

registration statement and related documents incorporated therein (the “Offering Documents”)

issued in connection with the Company’s Offering Shares contained materially false and

misleading statements, allegedly injuring investors when the truth was revealed.

       17.     As set forth below, in preparation for filing the Complaint, Lead Counsel

thoroughly investigated the claims in the Action, including conducting interviews with numerous




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former employees of CannTrust, and an extensive review of filings with the U.S. Securities and

Exchange Commission (“SEC”), Canada’s System for Electronic Document Analysis and

Retrieval (“SEDAR”), news reports, press releases, transcripts, videos, social media posts, and

analyst reports concerning the Company and its purported compliance with relevant Canadian

cannabis regulations.

       18.     While Lead Plaintiffs were preparing the Complaint to be filed, CannTrust, Lead

Plaintiffs and the Ontario Class Action Lead Plaintiffs began to explore the possibility of a

resolution of the claims and to discuss the parameters for an early mediation, given the financial

situation of the Company. On May 6, 2020, the Canadian Court overseeing CannTrust’s CCAA

Proceeding issued a Mediation Order and appointed the Hon. Dennis O’Connor, Q.C. as the court-

appointed Mediator to mediate a settlement of the claims against CannTrust pending in Canada.

       19.     On June 26, 2020 Lead Plaintiffs filed the Complaint.          Around the time the

Complaint was filed, Lead Plaintiffs agreed to participate voluntarily in the CCAA ordered mediation

on behalf of U.S. investors. On July 6, 2020, the parties to the U.S. Class Action filed a letter and

stipulation with the Court requesting that the Court stay the U.S. Class Action pending ongoing

mediation in the CCAA Proceeding. ECF No. 126. On July 7, 2020, the Court entered a

Stipulation and Order staying the U.S. Class Action until such time as (i) the court-appointed

Mediator declared that the mediation process had concluded; or (ii) the Canadian Court lifted the

stay of proceedings in Canada. ECF No. 127.

       B.      Lead Plaintiffs’ Investigation of the Claims

       20.     After their appointment, Lead Plaintiffs, through Lead Counsel, continued their

investigation into the claims for the purpose of drafting a comprehensive consolidated complaint

that would survive the strictures of the PSLRA. During this process, Lead Counsel engaged in a

thorough factual investigation that included, among other things, the review and analysis of:


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(i) press releases, news articles, transcripts, and other public statements issued by or concerning

CannTrust and the individual defendants; (ii) research reports issued by financial analysts

concerning the cannabis industry and CannTrust’s business; (iii) CannTrust’s filings with the

SEC and SEDAR; (iv) news articles, media reports, videos, social media posts and other

publications concerning CannTrust, the cannabis industry and Canadian regulations; and

(v) other publicly available information and data concerning CannTrust, its securities, and the

markets therefor.

       21.     As part of their investigation and in furtherance of the allegations against

Defendants, Lead Counsel consulted with experts in accounting and auditor/underwriter due

diligence policies and procedures; located 51 potential witnesses with knowledge of the alleged

events; conducted interviews with eight former employees of CannTrust and others with relevant

knowledge; and reviewed a significant body of Canadian rules and regulations governing the

growth, storage and sale of medicinal and recreational cannabis. Counsel also conferred with

experts on the issues of damages and loss causation.

       22.     Lead Counsel also conducted an extensive review of publicly available

information regarding the individual defendants’ employment and compensation agreements

throughout their tenure at the Company. Counsel analyzed the individual defendants’

compensation utilizing data provided by Bloomberg and engaged in a comparative analysis of

their CannTrust stock sales before and during the class period in order to support Lead Plaintiffs’

allegations that the Company’s executive officers had motive and opportunity to misrepresent

CannTrust’s regulatory compliance. Lead Counsel’s review of these various sources of

compensation information was fruitful, difficult and time consuming.




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       23.     Lead Counsel also reviewed numerous research reports issued by financial

analysts concerning the Company’s business and operations, as well as transcripts of conference

calls hosted by Defendants during which analysts asked relevant questions concerning the

Company’s operations, production capacity, and growth prospects.         Counsel also reviewed

numerous presentations and publications about the cannabis industry relating to Defendants,

other cannabis companies in the U.S. and Canada, and regulatory agencies. These reports,

conference calls, and publications provided invaluable insight into CannTrust’s cannabis

operations, production capacity, growth prospects and compliance with Canadian cannabis

regulations.

       24.     In consultation with Lead Plaintiffs’ consulting damages expert, Lead Counsel

reviewed statistically significant stock price movements for an extended period both before and

after the class period alleged in the initial complaint. Based on this review and the ongoing

review of developments in the Action, Lead Counsel identified allegedly statistically significant

stock price declines and related disclosures, which were included in the consolidated complaint

as allegedly corrective disclosures.

       25.     On June 26, 2020, Lead Plaintiffs filed their 275 page Consolidated Class Action

Complaint (ECF No. 89).

III.   CCAA PROCEEDINGS AND MEDIATED SETTLEMENT NEGOTIATIONS

       26.     The proposed Settlements resulted from a thoughtful and demanding process.

       27.     On March 31, 2020, defendant CannTrust and certain other related parties

commenced insolvency proceedings under the Companies’ Creditors Arrangement Act in the

Canadian Court, and obtained an order for a stay of proceedings against them, including stays of

the Action.




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       28.     On May 8, 2020, the Canadian Court appointed the Hon. Dennis O’Connor, Q.C.

as a neutral third party to mediate a global settlement of the various actions and claims made

against CannTrust and others (the “Mediation Process”). More than 80 attorneys, representing

30 separate parties, participated in the Mediation Process.

       29.     Lead Counsel and Ontario Class Action Counsel agreed to work together as a

single negotiating unit (the “Coalition”) to advance the interests of all Securities Claimants

represented by them in the Mediation Process. On January 29, 2021, the Canadian Court issued

an order (the “CCAA Representation Order”) appointing the Ontario Class Action Lead

Plaintiffs and Granite Point as CCAA Representatives and their counsel as CCAA

Representative Counsel.

       30.     In tandem with the Mediation Process, Lead Counsel and Ontario Class Action

Counsel conducted an extensive legal and factual investigation, which included: (i) reviewing

CannTrust’s public disclosure documents and other publicly available information regarding

CannTrust; (ii) holding discussions with an alleged CannTrust whistleblower and obtaining

relevant emails; (iii) retaining and communicating with private “fact” investigators; (iv)

identifying and interviewing potential “fact” witnesses; (v) communicating, to date, with over

1,300 individual Securities Claimants; (vi) retaining a cannabis consultant to advise counsel;

(vii) considering expert opinion regarding applicable accounting standards by Cyrus Khory,

managing director at Froese Forensic Partners Ltd.; (viii) considering expert opinion regarding

applicable auditing standards by Professor Efrim Boritz, Ph.D., FCPA, FCA, CISA; (ix)

retaining James Miller to provide an expert opinion regarding applicable underwriting standards;

(x) retaining Sunita Surana, Ph.D., of Forensic Economics to provide an expert economic

opinion on market efficiency, materiality, and damages; and (xi) reviewing CannTrust’s




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responsive insurance policies and other non-public information provided to Lead Counsel and

Ontario Class Action Counsel in the course of the Mediation Process.

         31.   Throughout the Mediation Process, the various constituencies prepared and

exchanged detailed written submissions addressing liability and damages for the parties’ and

Mediator’s review. The exchanges allowed each side to better understand the other’s positions

and provided Lead Plaintiffs with valuable insight into the risks of establishing Defendants’

liability and the protracted process of seeking to do so.

         32.   Since the beginning of the Mediation Process, counsel for the plaintiffs in the

Canadian Action and the Action, on behalf of all Securities Claimants, attended more than 20

formal mediation sessions with counsel to CannTrust, co-defendants, and/or insurers and

participated in countless informal discussions with the Mediator, the CCAA Monitor, and other

mediation participants. In January 2021, following protracted negotiations over six months,

Class Action Counsel and CannTrust reached the framework reflected in the RSA. In the ten

months since then, the RSA yielded seven additional settlements as more fully set forth in §IV,

infra.

         33.   On April 16, 2021, CannTrust and certain other related entities filed a plan of

compromise, arrangement, and reorganization pursuant to the CCAA (the CCAA Plan) in order

to, among other things, implement the global resolution of the Actions, and address other claims

against the CannTrust entities.

         34.   By Order dated July 16, 2021, the Canadian Court entered the CCAA Sanction

Order, which, among other things, authorized the implementation of the proposed Settlements,

approved the A&DS, and authorized the creation of the Securities Claimant Trust.




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IV.    TERMS OF THE SETTLEMENTS

       35.     Overall, in exchange for the releases and dismissals contemplated by the CCAA

Plan and the Settlements, the Settling Defendants have agreed to, among other things, cause

payments totaling approximately C$83,000,000, which, along with any interest earned, will be

distributed after the deduction of court-awarded attorneys’ fees and litigation expenses, taxes,

notice and administration expenses and fees, ongoing litigation costs, and other fees and

expenses allowed by the CCAA Plan and the A&DS, to U.S. Securities Claimants and Canadian

and Non-U.S. Securities Claimants (collectively, “Securities Claimants”) who submit valid and

timely Claim Forms and are found to be eligible to receive a distribution from the Class

Compensation Fund. Certain Settling Defendants have also agreed to assign claims that they

have to the Securities Claimant Trust and/or to cooperate with Class Action Counsel so that the

Class Action Lead Plaintiffs can pursue litigation against, or obtain settlements with, non-settling

insurers and KPMG in Canada.

       36.     The RSA -- The settlement reflected in the RSA is with CannTrust and the other

CCAA applicants, Mark Dawber, Greg Guyatt, John Kaden, Robert Marcovitch, Shawna Page,

Ilana Platt, Mitchell Sanders and Cajun Capital Corporation (“Original Settlement Parties”). See

ECF No. 150-4. The RSA provided an orderly mechanism for the Class Action Lead Plaintiffs

and Class Action Counsel, with the Original Settlement Parties’ cooperation, to obtain additional

settlements and provide releases to additional parties. In exchange for releases of liability:

               (a)     CannTrust will pay a Cash Contribution of C$50,000,000 to the Securities

Claimant Trust;

               (b)     the Original Settlement Parties will assign their Assigned Claims, notably

certain claims against KPMG, to the Securities Claimant Trust;




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                (c)    CannTrust will provide information and cooperation to the Class Action

Plaintiffs in the prosecution of the continuing litigation; and

                (d)    if the aggregate amount recovered by Securities Claimants and the

Securities Claimant Trust from Additional Settlement Parties and Non-Settlement Parties,

whether pursuant to settlements or continued litigation, exceeds C$250 million net of litigation

fees and expenses, then CannTrust Holdings will be entitled to be repaid up to C$50 million in

staged amounts from the Securities Claimant Trust (such staged amounts to be agreed upon at a

future date).

       37.      KPMG was CannTrust’s auditor during the period when defendants allegedly

issued false and misleading financial statements. KPMG is a defendant in the Class Actions and

faces statutory claims by shareholders. During the Mediation Process, Class Action Counsel

determined, in their judgment, that CannTrust also may have a potentially valuable auditor’s

negligence claim against KPMG. Class Action Counsel believe that CannTrust has claims

against KPMG in connection with its audit of CannTrust’s 2018 annual financial statements and

Q1 2019 review engagement. Pursuant to the CCAA Plan and CCAA Sanction Order, claims of

this nature against KPMG that are not indemnity claims, contribution claims or other claims over

will be assigned to the Securities Claimant Trust and will be litigated in Canada.

       38.      Paul Settling Parties Settlement - The settlement is with defendant Eric Paul

and the Paul Family Trust and provides for payment of a Cash Contribution of C$12,000,000 and

assignment of Paul’s claims against his Insurer to the Securities Claimant Trust in exchange for

releases of liability. See ECF No. 150-6. As a result of the settlement and the transfer of his

Assigned Claims, Paul gave up his rights to insurance coverage that would respond to regulatory

or criminal proceedings. Accordingly, the settlement provides that the Securities Claimant Trust




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will reserve C$1 million in respect of legal costs to defend against any such proceedings

provided such proceedings are instituted no later than July 25, 2025. Any funds remaining after

the final disposition of such proceedings will revert back to the Securities Claimant Trust.

       39.     The Underwriters Settlement - The settlement is with defendant Canaccord

Genuity LLC, Canaccord Genuity Corp., defendant Citigroup Global Markets Inc., Citigroup

Global Markets Canada Inc., Credit Suisse Securities (Canada) Inc., defendant Credit Suisse

Securities (USA) LLC, Jefferies Securities, Inc, defendant Jefferies LLC, Merrill Lynch Canada

Inc., defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated, and defendant RBC

Dominion Securities Inc. and provides for a Cash Contribution of US$8,000,000 in exchange for

releases of liability. See ECF No. 150-7.

       40.     Litwin Group Settlement - The settlement is with defendant Mark Ian Litwin,

Fred Litwin, Stan Abramowitz, defendant Cannamed Financial Corp., Forum Financial

Corporation, Mar-Risa Holdings Inc., York Capital Funding Inc., and Sutton Management

Limited and provides for a Cash Contribution of C$11,000,000 in exchange for releases of

liability. See ECF No. 150-8. Fred Litwin allegedly controlled Forum Financial Corporation,

which was a significant shareholder of CannTrust. Fred Litwin is not a defendant to any of the

Class Actions, however, he faces a claim by the Zola Plaintiffs for negligent misrepresentation in

connection with a direct sale of 1,000,000 shares to them in September 2018.

       41.     Abramowitz Settlement - The settlement is with defendant Ian Abramowitz and

provides that he will provide cooperation to the Class Action Lead Plaintiffs and assignment of

his claims against his Insurer to the Securities Claimant Trust, excluding any claims, rights or

entitlement that he may have to insurance coverage for criminal, regulatory or administrative

proceedings, in exchange for releases of liability. See ECF No. 150-9. The settlement provides




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that the Securities Claimant Trust will pay the costs of Abramowitz’s legal representation to aid

his cooperation obligations up to a maximum of C$100,000. Subsequently, Class Action Lead

Plaintiffs and Abramowitz reached an agreement whereby Abramowitz will release all claims to

insurance coverage and the Securities Claimant Trust will provide indemnification of up to C$1

million for the costs of responding to regulatory or criminal investigations and proceedings, or

certain other litigation expenses, provided such proceedings are instituted no later than July 25,

2025. See ECF No. 150-10.

       42.     Aceto Settlement - The Class Action Lead Plaintiffs have agreed to settle with

defendant Peter Aceto and release him from liability in exchange for his cooperation. See ECF

No. 150-11. A Cash Contribution will be made on his behalf by certain Insurers, assuming the

settlement with them is finalized, and he will not be treated as a Released Party unless and until

the Cash Contribution has been made. As a result of the settlement, Aceto will give up his rights

to insurance coverage that would respond to regulatory or criminal proceedings. Accordingly,

the settlement provides that the Securities Claimant Trust will reserve up to C$1 million in

respect of legal costs to defend against any such proceedings, provided such proceedings are

instituted no later than July 25, 2025.

       43.     Green Settlement – Kenneth Brady Green is a defendant in the Ontario Class

Action. The Class Action Lead Plaintiffs have agreed to settle with Green and release him from

liability in exchange for his cooperation.

       44.     Zola Plaintiffs Settlement - Class Action Lead Plaintiffs have entered into a

settlement with opt-out plaintiff Zola Finance Holdings Ltd. and Igor Gimelshtein, who had

commenced a separate action against CannTrust in Canada and elected not to be represented by

the class representatives. See ECF No. 150-12. The Zola Plaintiffs are Securities Claimants and




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fall under the definition of class members in the Ontario Class Action. However, they were

excluded from the CCAA Representation Order and have their own counsel in the CCAA

Proceedings. The Zola Plaintiffs filed a proof of claim in the CCAA Proceedings of C$45

million. From before the commencement of the CCAA Proceedings, the Zola Plaintiffs

announced an intention to opt-out of the Ontario Class Action and pursue their own claims. The

Zola Plaintiffs commenced an individual action against CannTrust and others in November of

2019. The Zola Action makes unique allegations and brings claims based on the Zola Plaintiffs’

direct conversations with certain defendants, as well as its direct purchase of shares from Fred

Litwin. The Zola Plaintiffs agreed to support the CCAA Plan and assign their claims to the

Securities Claimant Trust, in exchange for a defined allocation from the Class Settlement

Amount of C$3.25 million and a pro rata payment from the Class Compensation Fund, which

were authorized by the CCAA Court.

       45.     Dismissal of the California Action - In light of the Settlements, the plaintiff in

the California Action moved for the action to be voluntarily dismissed, and the action was

dismissed with prejudice on October 13, 2021.


V.     RISKS OF CONTINUED LITIGATION

       46.     Based on their experience and close knowledge of the facts of the case and law

governing the claims, Lead Counsel and Lead Plaintiffs have determined that settlement with the

Settling Defendants at this juncture is in the best interests of the U.S. Settlement Class. As

described herein, at the time the Settlements were reached, there were unusual and sizable risks

facing Lead Plaintiffs with respect to recovering anything from CannTrust and related

defendants in light of the CCAA proceeding and CannTrust’s financial situation, as well as

pleading and establishing liability, loss causation, and damages.



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        A.     Risks Concerning Ability to Pay

        47.    Lead Plaintiffs’ ability to collect on a judgment against the Settling Defendants

after trial and likely appeals, years down the road, if at all, was the primary factor militating in

favor of an early settlement.

        48.    With respect to CannTrust, the Coalition and Lead Plaintiffs had access to

ongoing financial information of the Company through periodic reports issued by Ernst & Young

in its capacity as the CCAA court-appointed monitor of CannTrust. Pursuant to these reports,

Lead Plaintiffs understood that CannTrust’s projected ending cash balance on January 31, 2021

was approximately C$63.0 million.        That amount was projected to decrease steadily until

CannTrust emerged from the CCAA reorganization process. Lead Plaintiffs believe that had

they not reached a settlement with CannTrust, it is certain that CannTrust would not have

emerged from CCAA reorganization as a going concern, would likely cease operations (with the

loss of hundreds of jobs), exhaust its remaining cash assets on litigation and litigation-related

claims and would not have any resources to satisfy any judgment.

        49.    Since CannTrust was engaged in the CCAA Proceedings and certain of its

insurers had denied coverage, any judgment after trial could result in a contested liquidation over

CannTrust’s remaining and dwindling assets. The individual defendants, other than defendants

Paul and Litwin,5 were believed to not be material sources of recovery because they had limited

legal exposure or financial means. The extent to which investors could meaningfully collect on a

judgment was therefore questionable and the time it would take to obtain a recovery was

unknown.




    5
      The Litwin Group will be contributing C$11 million to the Securities Claimant Trust and
the Paul Settling Parties will be contributing C$12 million to the Securities Claimant Trust.

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       50.    The RSA with CannTrust and the other Original Settlement Parties also provides

an orderly mechanism for all of the Class Action Lead Plaintiffs to (i) obtain additional

settlements with additional parties, and (ii) to prosecute, on an expedited basis, the remaining

Class Action claims and Assigned Claims in a single forum.

       51.    Thus, in the event of protracted litigation—with defense costs mounting

exponentially—there was no guarantee that the Settling Defendants’ insurance (what might have

been available given the challenges to coverage) and wasting cash reserves would be sufficient to

satisfy a judgment greater than the Class Settlement Amount. Regardless of how strong a

liability case is, “you can’t get blood from a stone.” New England Carpenters Health Benefits

Fund v. First DataBank, Inc., 602 F. Supp. 2d 277, 281 (D. Mass. 2009).

       B.     Risks Related to Liability

              1.      Scienter

       52.    In addition to the obstacles involved in continuing to litigate only against those

defendants not impacted by stays in connection with the CCAA proceedings, Lead Plaintiffs

anticipated that in Defendants’ upcoming motions to dismiss, and during continued litigation of

the Exchange Act claims, Defendants would have strenuously maintained, among other things,

that they did not act with the required intent to defraud or severe recklessness necessary to

establish the element of scienter. If Defendants were successful, the case could have been

dismissed outright at the motion to dismiss stage. Lengthy appeals, even if Lead Plaintiffs were

to have prevailed after the motions to dismiss, summary judgment and trial, could have ensued,

with no certainty of any recovery for the U.S. Settlement Class, particularly given the

Company’s precarious financial position.




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       53.     For instance, there would have been significant factual disputes concerning who

had knowledge of the alleged unlicensed cannabis activities, the extent to which operations were

not complaint with regulations, and the defendants’ knowledge of compliance requirements.

       54.     Scienter would have remained a key issue well beyond the motions to dismiss.

               2.      Challenges with Respect to Securities Act Claims

       55.     With respect to establishing liability for the Securities Act claims, among other

things, Lead Plaintiffs would need to establish that their, and the class’s, purchases were

pursuant or traceable to the May 2019 secondary offering, rather than an earlier offering. While

tracing can be straight-forward where claims arise from an initial public offering, here the

Settling Defendants would have strenuously contested Lead Plaintiffs’ assertions that purchases

were traceable to the offering.

       56.     Additionally, the Securities Act claims are subject to a “due diligence” defense.

Many of the Settling Defendants, in particular the underwriter defendants, would have argued

that they had no knowledge of any wrongdoing at CannTrust, that the unlicensed activities were

hidden, and that they satisfied their obligations to perform the requisite due diligence, thereby

immunizing them from liability. To overcome the defense, Lead Plaintiffs would have had to

convince a jury that these defendants did not conduct a reasonable investigation into whether the

offering documents contained misrepresentations.

       C.      Risks Concerning Loss Causation and Damages

       57.     Assuming that Lead Plaintiffs overcame the above risks at the motion to dismiss

stage, summary judgment, and trial, Lead Plaintiffs would also have had the burden of proving

loss causation with respect to the Exchange Act claims and damages with respect to both the

Exchange Act and Securities Act claims.




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       58.     Here, Lead Counsel and Ontario Class Action Counsel consulted with an expert

on damages and loss causation who has worked on numerous securities class action matters, and

who analyzed class wide damages in light of the facts and circumstances presented in the case

and developed through the Mediation Process. Damages assessments are very expert driven and

depend on the dates of the alleged misrepresentations and corrective disclosures, the price

impacts of those events, and the existence of confounding information on the stock price

reaction. Changes to the underlying assumptions, or to the misrepresentation or correction dates,

could cause significant differences.

       59.     Based on the allegations in this case, Lead Plaintiffs’ consulting damages expert,

Dr. Surana, has estimated maximum aggregate damages to Securities Claimants of

approximately C$510 million. Of those damages, approximately C$48 million are attributable to

the Offering claims, and C$461.5 million are attributable to secondary market claims. Using

these estimates, the Settlements represent approximately 16% of maximum damages.

       60.     As the case continued, the Parties’ respective damages experts would strongly

disagree with each other’s assumptions and their respective methodologies, resulting in a “battle

of the experts,” the results of which were far from certain. The risk that the Court or a jury would

credit Defendants’ experts’ anticipated damages positions over those of Lead Plaintiffs would

have considerable consequences in terms of the amount of a recovery for the U.S. Settlement

Class, even assuming liability were proven.           More importantly, the protracted litigation

necessary to overcome Defendants’ arguments in connection with the motions to dismiss, class

certification, summary judgment, and trial would be extremely costly and significantly deplete, if

not entirely exhaust, available insurance policy limits.




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VI.    LEAD PLAINTIFFS’ COMPLIANCE WITH PRELIMINARY APPROVAL
       ORDER AND REACTION OF THE U.S. SETTLEMENT CLASS TO DATE

       61.     On August 26, 2021, Lead Plaintiffs moved for preliminary approval of the

proposed Settlements, as they relate to the U.S. Class Action. ECF No. 148. On September 2,

2021, the Court entered the Preliminary Approval Order, authorizing that notice of the

Settlements be sent to U.S. Settlement Class Members and scheduling the Settlement Hearing for

December 2, 2021 to consider whether to grant, in relation to the U.S. Class Action, final

approval to the Settlements. ECF No. 153.

       62.     Pursuant to the Preliminary Approval Order, the Court appointed Epiq Class

Action & Claims Solutions, Inc. (“Epiq”) as Claims Administrator and instructed Epiq to

disseminate copies of the Notice of Pendency of U.S. Class Action and Proposed Settlements

(the “Notice”) and Claim Form (collectively, with the Notice, the “Notice Packet”) by mail and

to publish the Summary Notice of Pendency of U.S. Class Action and Proposed Settlements (the

“Summary Notice”).

       63.     The Notice, attached as Exhibit A to the Declaration of Luis Granati Regarding:

(A) Mailing of the Notice and Claim Form; (B) Publication of the Summary Notice; and (C)

Report on Requests for Exclusion, dated October 28, 2021 (“Mailing Decl.” or “Mailing

Declaration”) (Exhibit 4 hereto), provides potential U.S. Settlement Class Members with

information about the terms of the Settlements and contains, among other things: (i) a description

of the U.S. Class Action and the proposed Settlements; (ii) the terms of the proposed Allocation

and Distribution Scheme for calculating claims; (iii) an explanation of U.S. Settlement Class

Members’ right to participate in the Settlements; (iv) an explanation of U.S. Settlement Class

Members’ rights to object to the Settlements or the Allocation and Distribution Scheme, or




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exclude themselves from the U.S. Settlement Class; and (v) the manner for submitting a Claim

Form in order to be eligible for a payment from the net proceeds of the Settlements.

       64.     As detailed in the Mailing Declaration, Epiq mailed and/or e-mailed Notice

Packets to potential U.S. Settlement Class Members as well as banks, brokerage firms, and other

third party nominees whose clients may be U.S. Settlement Class Members. Ex. 4 at ¶¶2-9. To

disseminate the Notice, Epiq obtained the names and addresses of potential U.S. Settlement

Class Members from data provided by CannTrust’s transfer agent, Lead Counsel, Ontario Class

Action Counsel, directly from interested investors, and from banks, brokers and other nominees

whose clients may be U.S. Settlement Class Members. Id. In total, to date, Epiq has mailed

37,436 Notice Packets to potential nominees and U.S. Settlement Class Members. Id. at ¶9.

       65.     On September 28, 2021, Epiq also caused the Summary Notice to be published in

The Wall Street Journal and to be transmitted over the internet using PR Newswire. Id. at ¶10

and Exhibit B thereto.

       66.     Epiq maintains and posts information regarding the Settlements on a dedicated

website, www.CannTrustSecuritiesSettlement.ca, to provide investors with information

concerning the Settlements, as well as downloadable copies of the Notice Packet and an online

claim portal. Id. at ¶¶14-15. Labaton Sucharow also posted the Notice Packet on its website.

       67.     Pursuant to the terms of the Preliminary Approval Order, the deadline for U.S.

Settlement Class Members to submit objections to the Settlements and the allocation plan, or to

request exclusion from the U.S. Settlement Class is November 11, 2021. To date, no member of

the U.S. Settlement Class has objected to the Settlements or the allocation plan, or has requested

exclusion from the U.S. Settlement Class.




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        68.    Should any objections or requests for exclusion be received, Lead Plaintiffs will

address them in their reply papers, which are due to be filed with the Court on November 25,

2021.

VII.    THE ALLOCATION AND DISTRIBUTION SCHEME GOVERNING
        SETTLEMENT PAYMENTS

        69.    Pursuant to the Preliminary Approval Order, and as set forth in the Notice, all

U.S. Settlement Class Members who wish to participate in the distribution of the Class

Compensation Fund must submit a valid Claim Form, including all required information,

postmarked no later than March 16, 2022. After the deduction of court-awarded attorneys’ fees

and litigation expenses, taxes, notice and administration expenses and fees, ongoing litigation

costs, and other fees, expenses, and liabilities allowed by the CCAA Plan, the Class

Compensation Fund will be distributed to U.S. Settlement Class Members and Canadian and

Non-U.S. Securities Claimants according to the allocation plan approved by the Courts.

        70.    The proposed Allocation and Distribution Scheme, which is set forth in full in the

Notice (Ex. 4-A at Appendix A), was designed to achieve an equitable and rational distribution

of the Class Compensation Fund. Lead Counsel and Ontario Class Action Counsel developed

the allocation plan in close consultation with Lead Plaintiffs’ consulting damages expert and

believe that the plan provides a fair and reasonable method to equitably distribute the Class

Compensation Fund among eligible Securities Claimants.

        71.    The plan of allocation provides for distribution of the Class Compensation Fund

among eligible Securities Claimants on a pro rata basis based on their “Recognized Claims,”

calculated according to the plan’s formulas, which are consistent with the theories of liability and

alleged damages under the Exchange Act and Securities Act. The plan is designed to provide

compensation based on: (a) the period of time during which shares were acquired; (b) the amount



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of alleged artificial inflation in the prices of CannTrust shares from June 1, 2018 through

September 17, 2019, as estimated by Lead Plaintiffs’ expert; (c) the date on which the shares

were sold or if they are still held; and (d) whether they were acquired pursuant to the May 2019

Offering or on the secondary market. Here, the alleged wrongdoing was disclosed from July 8,

2019 through September 17, 2019. Accordingly, under the plan, purchases at or after 3:13 p.m.

ET on September 17, 2019 are not eligible for a recovery because the full truth about the

wrongdoing alleged in this case was allegedly revealed by this point in time. The plan also

provides an enhancement on losses arising from purchases in the May 2019 Offering, given that

such claims do not require Lead Plaintiffs to prove that Defendants acted with scienter.

       72.     The Court-approved Claims Administrator, under Lead Counsel and Ontario

Class Action Counsel’s direction, will calculate claimants’ Recognized Claims using the

transactional information provided in their Claim Forms. Claims may be submitted to the

Claims Administrator through the mail, e-mail, online using the settlement website, or for large

investors with thousands of transactions, through Epiq’s electronic filing team. (Neither the

settling parties nor the Claims Administrator independently have claimants’ transactional

information.) The Lead Plaintiffs’ losses will be calculated in the same manner.

       73.     Once the Claims Administrator has processed all submitted claims and provided

claimants with an opportunity to cure deficiencies or challenge rejection determinations,

payment distributions will be made to eligible Securities Claimants whose entitlement is equal or

greater than C$50.00 using checks and, in some instances, wire transfers. After an initial

distribution, if there is any balance of unclaimed funds remaining after at least six (6) months

from the date of initial distribution, Lead Counsel and Ontario Class Action Counsel will, if

feasible and economical, re-distribute the balance among eligible Claimants who have cashed




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their initial distributions and would receive at least C$50.00. Re-distributions will be repeated

until the balance is no longer economically feasible to distribute. See Ex. 4-A, Appendix A.

Any balance that still remains in Class Compensation Fund after re-distribution(s), which is not

economical to reallocate, after payment of any outstanding fees and expenses or taxes, will be

donated to a non-sectarian charitable organization(s) certified under §501(c)(3) of the U.S.

Internal Revenue Code and/or a Canadian charity or other non-profit group to be designated by

Lead Counsel and Ontario Class Action Counsel. Id.

         74.   To date, there have been no objections to the Allocation and Distribution Scheme

by any members of the U.S. Settlement Class.

         75.   By Order dated July 16, 2021, the Canadian Court entered the CCAA Sanction

Order, which, among other things, approved the Allocation and Distribution Scheme.

         76.   In sum, the proposed allocation plan, developed in consultation with Lead

Plaintiffs’ consulting damages expert, was designed to fairly and rationally allocate the Class

Compensation Fund among eligible Claimants. Accordingly, Lead Counsel respectfully submits

that the proposed plan is fair, reasonable, and adequate and should also be approved by the

Court.

VIII. MISCELLANEOUS EXHIBITS

         77.   Attached hereto as Exhibit 5 is the firm resume of Labaton Sucharow LLP.

IX.      CONCLUSION

         78.   In view of the very favorable recovery for the U.S. Settlement Class and the

substantial risks of continuing to litigate the claims against the Settling Defendants, as described

above and in the accompanying memorandum of law, Lead Plaintiffs and Lead Counsel

respectfully submit that the proposed Settlements should be approved as fair, reasonable, and




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adequate and that the proposed Allocation and Distribution Scheme should likewise be approved

as fair, reasonable, and adequate.



       I declare under penalty of perjury that the foregoing is true and correct. Executed this

28th day of October, 2021.

                                                    /s/ James W. Johnson
                                                   JAMES W. JOHNSON




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2021, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all registered ECF participants.



                                                               /s/ James W. Johnson
                                                              JAMES W. JOHNSON




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